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            [ORAL ARGUMENT NOT YET SCHEDULED]

                                No. 23-5017


           IN THE UNITED STATES COURT OF APPEALS
            FOR THE DISTRICT OF COLUMBIA CIRCUIT


                     NATIONAL SECURITY ARCHIVE,

                                           Plaintiff-Appellant,

                                    v.

               CENTRAL INTELLIGENCE AGENCY,

                                           Defendant-Appellee.


             On Appeal from the United States District Court
                      for the District of Columbia


               BRIEF FOR DEFENDANT-APPELLEE


                                  BRIAN M. BOYNTON
                                   Principal Deputy Assistant
                                     Attorney General
                                  SHARON SWINGLE
                                  LEWIS S. YELIN
                                    Attorneys, Appellate Staff
                                    Civil Division
                                    U.S. Department of Justice
                                    950 Pennsylvania Ave. NW, Rm. 7239
                                    Washington, DC 20530
                                    (202) 514-3425
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 CERTIFICATE AS TO PARTIES, RULINGS, AND RELATED CASES



      Pursuant to D.C. Circuit Rule 28(a)(1), the undersigned counsel

certifies as follows:

      1. Parties

      Plaintiff-Appellant is the National Security Archive.

      Defendant-Appellee is the Central Intelligence Agency.

      There were no amici curiae in the district court.

      2. Rulings Under Review

      The notice of appeal seeks review of the order of the United States

District Court for the District of Columbia, James E. Boasberg, J., entered

on October 4, 2022, [ECF 29], granting summary judgment to defendant

Central Intelligence Agency, the accompanying memorandum opinion

entered that same date, [ECF 30], and the order of November 16, 2022,

[ECF 33], denying plaintiff National Security Archive’s motion under

Federal Rule of Civil Procedure 59(e).
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      3. Related Cases

      Plaintiff National Security Archive identifies National Security

Archive v. Defense Intelligence Agency, No. 19-529 (D.D.C.), as a related

case. Br. ii. We are aware of no related cases within the meaning of Circuit

Rule 28.

                                            s/ Lewis S. Yelin
                                           Counsel for Defendant-Appellee




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                             GLOSSARY


CIA                       Central Intelligence Agency

FOIA                      Freedom of Information Act




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                     STATEMENT OF JURISDICTION

      The district court granted defendant’s motion for summary judgment

on October 4, 2022, and denied plaintiff ’s motion for relief under Federal

Rule of Civil Procedure 59(e) on November 16, 2022. [ECF 29, 33]. Plaintiff

tendered a notice of appeal on January 13, 2023, and filed it on January 19,

2023. [ECF 34, 35]. Plaintiff invokes this Court’s jurisdiction under 28

U.S.C. § 1291.

      In this case, the combination of 28 U.S.C. § 2107(b) and Federal Rule of

Appellate Procedure 4(a)(4)(A)(iv) created an appeal deadline of January 16,

2023. Although the district court clerk’s office appears to have rejected

plaintiff ’s notice of appeal on January 13, 2023, and the January 19, 2023,

filing is after the deadline expired, it appears that plaintiff timely filed the

notice by tendering it on January 13. See Fed. R. Civ. P. 5(d)(4) (“The clerk

must not refuse to file a paper solely because it is not in the form prescribed

by these rules or by a local rule or practice.”); NationsBank, N.A. v. Plecas,

No. 95-7163, 1996 WL 244762, at *1 (D.C. Cir. Feb. 26, 1996) (per curiam)

(“Although appellant’s notice of appeal as first submitted may not have

conformed to Local Rule 104(c) [concerning membership in the court’s bar],

the district court clerk had a duty to file it. See Fed. R. Civ. P. 5(e).
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Accordingly, that notice of appeal was timely pursuant to Fed. R. App. P.

4(a).”). However, because the 60-day deadline is jurisdictional, we note the

issue for the Court. See United States v. Three Sums Totaling $612,168.23

in Seized U.S. Currency, 55 F.4th 932, 937-38 (D.C. Cir. 2022) (“If a time

prescription … appears in a statute, the limitation is jurisdictional[] ….”

(first alteration in original) (quoting Hamer v. Neighborhood Hous. Servs. of

Chi., 138 S. Ct. 13, 20 (2017))).

                       STATEMENT OF THE ISSUES

      In this suit under the Freedom of Information Act (FOIA), plaintiff

National Security Archive sought to compel defendant Central Intelligence

Agency (CIA) to disclose a document that defendant withheld as exempt

from disclosure under exemptions that permit withholding of classified

information and information protected from disclosure by statute. The

issues are:

      1. Whether the district court correctly granted summary judgment to

the CIA because plaintiff could not compel the disclosure of the requested

document under the official-acknowledgment doctrine;

      2. Whether the district court correctly rejected plaintiff ’s argument

that FOIA requires the CIA to disclose the document even in the absence of


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official acknowledgment because the document allegedly is in the public

domain.

             PERTINENT STATUTES AND REGULATIONS

      As relevant here, FOIA exempts from disclosure “matters that are—”

      (1)(A) specifically authorized under criteria established by an
      Executive order to be kept secret in the interest of national
      defense or foreign policy and (B) are in fact properly classified
      pursuant to such Executive order;

      …

      (3) specifically exempted from disclosure by statute (other than
      section 552b of this title), if that statute—

            (A)(i) requires that the matters be withheld from the public
            in such a manner as to leave no discretion on the issue; or

            (ii) establishes particular criteria for withholding or refers
            to particular types of matters to be withheld.

5 U.S.C. § 552(b).

                       STATEMENT OF THE CASE

      1. In August 2021, plaintiff submitted a FOIA request to the CIA

seeking a “January 9, 1989 ‘End of Tour Report (Addendum) General

Perroots’ ” (the Perroots Memo). [ECF 1-2, at 3]. Plaintiff ’s request stated

that the Department of State Office of the Historian published “a transcribed

version of this letter … with limited redactions” in a volume of the Foreign

Relations of the United States series. Id. The request further stated that

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the Department of State identified the CIA as the source of the document.

Id. Nine days later, the CIA acknowledged receipt of plaintiff ’s request.

[ECF 1-3, at 3]. After not receiving a substantive response by October 2021,

plaintiff brought suit, seeking to compel disclosure. [ECF 1]; see 5 U.S.C.

§ 552(a)(6)(A)(i).

      In April 2022, the CIA informed plaintiff that it found a responsive

document that it would “release[] in segregable form with redactions made

on the basis of FOIA exemptions (b)(1),” which excepts from disclosure

properly classified information, “and (b)(3),” which pertains to information

specifically exempted from disclosure by statute, whether or not the

information is classified. [ECF 23-1, at 49]; see 5 U.S.C. § 552(b)(1), (3)

(exemptions 1 and 3). The CIA’s letter explained that the information

withheld under exemption 3 was exempt from disclosure under Section

102A(i)(1) of the National Security Act of 1947, which requires the protection

of “intelligence sources and methods from unauthorized disclosure.” [ECF

23-1, at 49]; see 50 U.S.C. § 3024(i)(1). The CIA released to plaintiff a cover

letter to the Perroots Memo with minor redactions, but it redacted the

entirety of the memorandum itself, identifying exemptions 1 and 3 as the

basis for the redactions. [ECF 21-4, at 2-5].


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      2. In October 2022, the district court granted the CIA’s motion for

summary judgment. The district court observed that “[p]laintiff does not

contest the applicability of [exemptions 1 and 3] on their merits.” [ECF 30,

at 9]. Instead, plaintiff argued that because “the Memo’s text was already

made public [by the State Department] with CIA permission,” the CIA had

“officially acknowledged” the document and so could not withhold it. [ECF

30, at 1, 5] (quotation marks omitted). The focus of plaintiff ’s claim was

therefore not the applicability of the exemptions, but “the effect of the [State

Department] publication on the CIA’s ability to invoke any FOIA

exemptions.” [ECF 30, at 5]; see Knight First Amendment Inst. at

Columbia Univ. v. CIA, 11 F.4th 810, 813 (D.C. Cir. 2021) (“If an agency has

officially acknowledged otherwise exempt information through prior

disclosure, it has waived its right to claim an exemption with respect to that

information.” (quotation marks omitted)).

      As the district court explained, “[t]o establish official acknowledgment,

a plaintiff must identify information in the public domain that (1) matches the

information requested, (2) is as specific, and (3) has been made public

through an official and documented disclosure.” [ECF 30, at 5-6] (quoting

Knight, 11 F.4th at 815). With respect to the third requirement, “a


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disclosure by one component of an executive department may bind another

component within the same department.” [ECF 30, at 6] (quoting Knight, 11

F.4th at 817). But “a disclosure made by someone other than the agency

from which the information is being sought” does not qualify as an official

acknowledgment by the agency. Id. (quoting Knight, 11 F.4th at 816).

      According to plaintiff, the “information in the [State Department]

publication both matches, and is as specific as, the requested information.”

[ECF 30, at 6]. And the State Department’s publication should be attributed

to the CIA, plaintiff argued, because the State Department was required by

statute to obtain the CIA’s declassification review before publishing the

document, and the State Department publication thanked the CIA for

arranging access to the CIA’s records. Id. (citing 22 U.S.C. § 4353(b)(1)).

For these reasons, plaintiff argued, the State Department could not have

published the information without the “ ‘CIA’s cooperation and

involvement,’ ” which, plaintiff claimed, “must mean that the CIA officially

acknowledged” the published information. Id. (quoting plaintiff ’s opposition

to the CIA’s motion for summary judgment).




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      The CIA filed classified declarations for the district court’s ex parte

and in camera review.1 After examining those declarations, “along with a

copy of the requested Memo,” the district court concluded that the

information contained in the State Department publication “was not made

public through an ‘official and documented disclosure’ by the CIA.” [ECF 30,

at 7]. Those declarations, the court said, “confirm that the CIA—and this

includes the agency and its ‘components’—was not properly involved in the

document’s disclosure.” Id. Accordingly, the district court held that the

third element of the official acknowledgment doctrine was not satisfied. Id.

      The district court noted plaintiff ’s further argument that, because the

document plaintiff seeks is (according to plaintiff) the same as that made

public by the State Department, the CIA had to provide a “specific

explanation” for its withholding, regardless of whether the CIA authorized

the disclosure. [ECF 30, at 8] (emphasis and quotation marks). The court

explained that the classified declarations “diligently explained … why [the

CIA] must continue to withhold” the information plaintiff requested. Id.

The district court further noted that the CIA’s determination that



      1
         The government will make the classified record available to this Court
for its in camera and ex parte review.
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“classification of the information is still warranted to protect ‘intelligence

activities’ or ‘intelligence sources or methods,’ ” a determination that is

supported by “specific reasons,” is the sort of predictive national security

assessment to which courts defer. [ECF 30, at 8-9] (citing Larson v.

Department of State, 565 F.3d 857, 864 (D.C. Cir. 2009)).

      Because plaintiff “d[id] not contest the applicability of [exemptions 1

and 3] on their merits,” the district court granted the CIA summary

judgment. [ECF 30, at 9].

      3. Plaintiff subsequently filed a motion to amend the judgment under

Federal Rule of Civil Procedure 59(e). See [ECF 33]. Plaintiff asked the

court to order the CIA to undertake a reclassification review of the withheld

information. [ECF 33, at 1]. Plaintiff argued that because (in plaintiff ’s

view) the State Department had already made the information public, the

court’s summary judgment order “sanction[ed] a reclassification” of the

information without proper process. Id. (alteration in original; quotation

marks omitted); see Exec. Order No. 13,526, § 1.7(c) (Dec. 29, 2009).

      The district court denied plaintiff ’s request for three reasons. First,

the executive order requiring reclassification review applied to information

that previously was “ ‘declassifi[ed] and release[d] to the public under proper


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authority,’ ” but “[c]entral” to the district court’s summary judgment opinion

was the conclusion that the requested information “was not released to the

public under proper authority.” [ECF 33, at 1-2] (quoting Exec. Order No.

13,526, § 1.7(c)). Second, the court “doubt[ed] that it has the authority under

FOIA” to order reclassification review. [ECF 33, at 2]. And third, plaintiff ’s

Rule 59(e) motion is “an improper vehicle” with which to seek an order

compelling reclassification review. Id.; see [ECF 33, at 3] (“Having lost the

battle under FOIA, [plaintiff] may not now wield Rule 59(e) to seek an

entirely new remedy under a separate set of requirements.”).

                        SUMMARY OF ARGUMENT

      In this appeal, plaintiff does not contest the district court’s

determination that the information the CIA withheld is exempt from

disclosure under FOIA exemptions 1 and 3. The only issue is whether the

district court correctly held that reliance on those exemptions has not been

forfeited through official acknowledgment or because the information is

allegedly public.

      To establish that requested information has been officially

acknowledged, a plaintiff must show, among other things, that the

information has been made public through an official and documented


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disclosure. Under this Court’s precedent, a disclosure is official only if it

comes from the agency from which the information is sought. This Court has

recognized that this principle is especially important in the context of

national security information, where the attribution of information to a

particular agency can give rise to significant harms, even if the information is

believed to be public already. Accordingly, this Court has held that an

agency’s right to withhold information pursuant to a FOIA exemption is not

forfeited by the disclosure of information by another agency. The classified

record in this case establishes that the official-acknowledgment doctrine does

not override the application of exemptions 1 and 3 to the information plaintiff

requested.

      The allegedly public nature of the information sought also is not a basis

for countermanding an agency’s withholding of information pursuant to a

FOIA exemption. If being in the public domain were all that is required to

defeat a claimed exemption, then the official-acknowledgment doctrine would

serve no purpose because a plaintiff would never have to show that the

information is public as a result of an official and documented disclosure. In

the national security context, this Court has repeatedly held that an agency

may withhold information under exemptions 1 and 3 even if the information


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allegedly had been made public by a private party, Congress, or another

agency. In the absence of official acknowledgment, this Court has never

ordered the disclosure of public national security information.

                         STANDARD OF REVIEW

      As a general matter, this Court reviews “de novo a district court’s

grant of summary judgment in favor of an agency which claims to have

complied with FOIA.” Montgomery v. Internal Revenue Serv., 40 F.4th 702,

709 (D.C. Cir. 2022) (quotation marks omitted). In particular, this Court

reviews de novo a district court’s determination that an agency has not

officially acknowledged information through prior disclosure, thereby

forfeiting applicable FOIA exemptions. Id.

                                ARGUMENT

I.    The Classified Declarations Establish that the Withheld
      Information Has Not Been Officially Acknowledged

      A. FOIA requires agencies to disclose requested agency records

subject to enumerated exemptions. 5 U.S.C. § 552(a)(3)(A), (b). However,

“when an agency has officially acknowledged otherwise exempt information

through prior disclosure, the agency has waived its right to claim an

exemption with respect to that information.” Montgomery v. Internal

Revenue Serv., 40 F.4th 702, 710 (D.C. Cir. 2022) (quotation marks omitted).

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“To establish official acknowledgment, a plaintiff must identify information in

the public domain that (1) matches the information requested, (2) is as

specific, and (3) has been made public through an official and documented

disclosure.” Knight First Amendment Inst. at Columbia University v. CIA,

11 F.4th 810, 815 (D.C. Cir. 2021) (quotation marks omitted).

      With respect to the third official-acknowledgment element, this Court

does “not deem ‘official’ a disclosure made by someone other than the agency

from which the information is being sought.” Knight, 11 F.4th at 816 (some

quotation marks omitted). “[P]articularly in the arena of intelligence and

foreign relations,” the Court has explained, “a statement made by one in a

position to know is given unique meaning and weight.” Id. (quotation marks

omitted). If information comes “from outside an agency [it] may be viewed

as possibly erroneous.” Id. (quotation marks omitted). But “confirmation by

the agency itself would remove any lingering doubts.” Id. (quotation marks

omitted). Moreover, confirmation by “an intelligence agency” of information

disclosed by another agency “could have an adverse effect on our relations

with other countries, who might perceive themselves to be harmed by

disclosure of their cooperation with United States intelligence.” Id.

(quotation marks omitted). That “would cause greater diplomatic or security


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perils than statements by another agency on the same matter.” Id. “For

these reasons,” this Court has “framed a general rule that “[d]isclosure by

one federal agency does not waive another agency's right to assert a FOIA

exemption.” Id. (alteration in original; quotation marks omitted).

      The rule that one agency’s disclosure of information does not establish

another agency’s official acknowledgment is well established, and this Court

has applied it “in various cases and contexts.” Knight, 11 F.4th at 816; see id.

(discussing cases). This Court has “recognized one limited exception to the

general rule: if a public disclosure is made by an authorized representative

of the agency’s parent, it is official as to the subordinate agency.” Id.

(quotation marks omitted). Thus, a disclosure of one component of an

Executive Branch Department may bind another component within the same

Department. Id. at 816-17. And a public disclosure by the President, as the

head of the entire Executive Branch, constitutes official acknowledgment for

all Executive Branch agencies. Id. at 817.

      B. In this case, the CIA withheld the information plaintiff requested

under FOIA exemption 1, which excepts from disclosure properly classified

information, and 3, which excepts information specifically shielded from

disclosure by statute, whether or not the information is classified. [ECF 30,


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at 2]. On appeal, plaintiff does not dispute that the information it requested

comes within those exemptions. Opening Br. 3 n.3; see also [ECF 30, at 9]

(“Plaintiff does not contest the applicability of [exemptions 1 and 3] on their

merits[] ….”).

      Instead, plaintiff ’s principal contention is that the CIA may not rely on

those exemptions because it officially acknowledged the requested

information by the agency’s participation in the process that led to the State

Department’s publication of the alleged Perroots Memo. Opening Br. 12-14.

But because the State Department’s disclosure does not qualify as official

acknowledgment by another agency, “particularly in the arena of intelligence

and foreign relations,” Knight, 11 F.4th at 816 (quotation marks omitted), the

district court correctly held that the classified declarations filed by the

government establish that the official-acknowledgment doctrine does not

override the application of exemptions 1 and 3 in this case.

      As the district court noted in response to plaintiff ’s argument that the

CIA had officially disclosed the alleged Perroots Memo though its

participation in the State Department pre-publication review process, the

CIA submitted “classified, ex parte, in camera declarations, including one

from Vanna Blaine, an officer in the Litigation Information Review Office,


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and one from Donald J. Blersch, the Senior Coordinator of the Diplomatic

Security Service for Security Infrastructure in the Bureau of Diplomatic

Security from the State Department.” [ECF 30, at 7]. Blaine’s declaration

“elaborat[ed] the CIA’s role in the classification review process” and

“explain[ed] why the CIA cannot further address this issue on the public

record.” Id. (quoting [ECF 27, at 2-3] (defendant’s reply)).

      Reviewing the classified declarations and a copy of the withheld

information, the district court concluded that the withheld information had

not been officially acknowledged. [ECF 30, at 7]. Although the district court

noted “the frustration its admittedly cryptic analysis may engender,” the

court properly recognized that “FOIA requires it to remain parsimonious in

its explanation” so as not to improperly disclose “even the smallest bit of

information that is properly classified or would disclose intelligence sources

or methods.” Id. (quoting Afshar v. Department of State, 702 F.2d 1125, 1130

(D.C. Cir. 1983)).

      This Court’s own review of the classified declarations will make clear

that the district court’s decision is correct, and plaintiff ’s arguments do not

call into question the propriety of applying the well-settled principle that one




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agency’s disclosure of information does not constitute official acknowledge-

ment by another agency.

II.   The Allegedly Public Nature of the Requested National-
      Security Information Does Not Make It Subject to Disclosure
      in the Absence of Official Acknowledgment

      Plaintiff alternatively argues that because the information the CIA

withheld already is “preserved in a permanent public record,” the CIA may

not rely on exemptions 1 and 3 to avoid disclosure, regardless of whether the

information has been officially acknowledged. Opening Br. 15 (quotation

marks omitted); see Opening Br. 15-18. That is not the law.

      First, if the public nature of information is all that is required to defeat

an agency’s claimed exemption, the official acknowledgment doctrine would

serve no purpose because it never would be necessary for a plaintiff to show

that the information “has been made public through an official and

documented disclosure.” Knight, 11 F.4th at 815 (emphasis added; quotation

marks omitted)). (We note that plaintiff infers that the information the CIA

withheld is the same as the information previously published by the State

Department based on the fact that the CIA did not contest the matter and

the district court did not discuss it. Opening Br. 12-13, 12 n.11, 15. But by

withholding the information, the CIA has said nothing about the withheld


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document’s content except that it is exempt from disclosure under

exemptions 1 and 3.)

      Second, in the national security context, this Court “ha[s]

unequivocally recognized that the fact that information resides in the public

domain does not eliminate the possibility that further disclosures can cause

harm to intelligence sources, methods and operations.” Fitzgibbon v. CIA,

911 F.2d 755, 766 (D.C. Cir. 1990) (citing cases). For that reason, “the fact

that information exists in some form in the public domain does not

necessarily mean that official disclosure will not cause harm cognizable under

a FOIA exemption.” Wolf v. CIA, 473 F.3d 370, 378 (D.C. Cir. 2007).

      In line with these principles, this Court has held that an agency may

withhold national security information under exemptions 1 and 3 even if the

information allegedly had already been made public by a private party,

Congress, or another agency. See Frugone v. CIA, 169 F.3d 772, 774-75

(D.C. Cir. 1999) (citing cases); Knight, 11 F.4th at 816; see also, e.g., Mobley

v. CIA, 806 F.3d 568, 583-84 (D.C. Cir. 2015). Those decisions would make no

sense if, as plaintiff argues, the preservation of information in a permanent

public record is enough to defeat a claimed exemption. Plaintiff ’s reliance on

Students Against Genocide v. Department of State is of no help because the


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Court in that case upheld the agency’s withholding despite the alleged public

disclosure by a State Department official. Opening Br. 17 (citing 257 F.3d

828 (D.C. Cir. 2001)). Unsurprisingly, plaintiff does not identify any decision

in which this Court has required disclosure of public national security

information subject to withholding under exemptions 1 and 3 despite the

absence of official acknowledgment—and we are aware of none.

      Plaintiff identifies two decisions of this Court outside the national

security context in which this Court ordered disclosure of information

despite a claimed exemption, based on the public nature of the information.

Opening Br. 15-17 (discussing Cottone v. Reno, 193 F.3d 550 (D.C. Cir. 1999);

and Isley v. Executive Office for U.S. Attorneys, No. 98-5098, 1999 WL

1021934 (D.C. Cir. Oct. 21, 1999)). Those decisions are consistent with the

official-acknowledgment doctrine because the requested information was

evidence submitted by the Department of Justice in criminal prosecutions,

and the agencies from which the information was sought are components of

the Department of Justice. Other decisions of this Court have used “public-

domain doctrine” as an alternative name for the official-acknowledgment

doctrine. See, e.g., Citizens for Responsibility & Ethics in Washington v.

U.S. Dep’t of Justice, 58 F.4th 1255, 1271-72 (D.C. Cir. 2023); American Civil


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Liberties Union v. CIA, 710 F.3d 422, 426-27 (D.C. Cir. 2013). In any event,

any public domain doctrine that does not require official acknowledgment

has no application in the national security context, in which this Court has

unambiguously held that the public nature of the requested information is

not sufficient to defeat a claimed exemption.

                               CONCLUSION

      For the foregoing reasons, this Court should affirm the district court’s

judgment.

                              Respectfully submitted,

                                    BRIAN M. BOYNTON
                                     Principal Deputy Assistant
                                       Attorney General
                                    SHARON SWINGLE

                                    s/ Lewis S. Yelin
                                    LEWIS S. YELIN
                                       Attorneys, Appellate Staff
                                       Civil Division
                                       U.S. Department of Justice
                                       950 Pennsylvania Ave. NW, Rm. 7239
                                       Washington, DC 20530
                                       (202) 514-3425

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      This brief complies with the type-volume limit of Federal Rule of

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                                           s/ Lewis S. Yelin
                                          Counsel for Defendant-Appellee



                      CERTIFICATE OF SERVICE

      I hereby certify that on May 31, 2023, I had the foregoing Brief for

Defendant Appellee sent by first class mail to:

      John Stephen Guttmann
      Beveridge & Diamond, PC
      1900 N Street, NW
      Suite 100
      Washington, DC 20036

Service on plaintiff-appellant National Security Archive’s other counsel,

Hilary Jacobs, was effected by the appellate CM/ECF system.

                                          s/ Lewis S. Yelin
                                          Counsel for Defendant-Appellee
